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                              UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON




In re:    United States v. Pirouz Sedaghaty


I, Colleen Anderson, state that:

1.       I am a Special Agent (S/A) with the Internal Revenue Service - Criminal Investigation
(IRS-CI), assigned to the Medford, Oregon Post-of-Duty. As a special agent, I investigate
possible violations of the Internal Revenue Code (Title 26 United States Code), the Money
Laundering Control Act (Title 18 United States Code), and the Bank Secrecy Act (Title 31
United States Code).


2.       I have been a special agent with IRS-CI since December 1995 and have conducted
and assisted in numerous criminal investigations involving violations of federal tax laws,
money laundering laws, and other related offenses where I have gained experience in
locating, tracing, and corroborating financial information pertaining to the receipt and
disposition of funds.


3.       This declaration addresses the volume of material used by the government at trial
which was found in defendant’s computers. In addition, in this declaration I describe how a
potential defense witness was available to testify on behalf of the defendant, yet was not
called by the defense.


GOVERNMENT EXHIBITS

4.       A significant number of government exhibits used at trial were obtained from the
deleted sections of the Al-Haramain Islamic Foundation (AHIF) computers. As previously
stated, IRS-CI computer specialists began examining the imaged computers of the Al-
Haramain Islamic Foundation shortly after the seizure of the computers. Eventually, the
computer specialists were able to access the data in a retrievable format and this data was
then provided to me.


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5.       Once the data was in a retrievable format, I discovered that there was a large amount
of electronic information recovered in the defendant’s computers related to Mujahideen. This
information included:
     •    e-mails from other individuals discussing the plight of the Taliban, including an e-mail
          detailing a fatwa from prominent Sheik Ibn Jabreen regarding the permissibility of
          aiding the Taliban. (Ibn Jabreen had been previously featured on Al-Haramain’s
          website regarding the permissibility of aiding the Chechen Mujahideen);
     •    various pictures of Mujahideen in Chechnya both alive and “martyred”;
     •    e-mail correspondence between the defendant Pirouz Sedaghaty and co-defendant
          Soliman Al-Buthe regarding an interview with Mujahideen Commander Ibn-Ul-Khattab
          which discussed financial support for the Mujahideen in Chechnya;
     •    web pages showing an individual identified as ptichka translating for a Russian
          Chechnya Mujahideen site;
     •    and numerous e-group correspondence e-mails about the current Mujahideen battles
          and interviews with the Mujahideen commanders in Chechnya, some of which were
          replied to.


6.       To prepare for trial, I and the prosecution team limited the electronic exhibits offered at
trial to ones falling within the general time period of the specified $150,000 transaction and
the subsequent filing of the false Form 990. This culling process provided numerous relevant
documents showing the defendant’s willfulness including personal and private e-mails,
photographs, news articles, web pages, and internal organization documents.


7.       These documents were then culled further in order to scale back the number of
documents exhibited by the government during trial. For instance, while there was still
several hundred e-group correspondence e-mails about the Chechen Mujahideen within this
time period, the government only exhibited a very small portion of these Sheeshaan e-mails.
The prosecution team finally selected exhibits from this group, which best demonstrated
defendant Sedaghaty’s mindset during this time period. In addition, the prosecution team did
not exhibit any electronic documents found in defendant Sedaghaty’s computers pertaining to
assisting the Taliban even though some of the documents fell within the general time frame.




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DEFENSE WITNESS


8.    From discovery provided by the defense and other investigative efforts, it was my
understanding that the defense had subpoenaed Raya Shokatford as a potential defense
witness for trial. Immigration and Customs Enforcement records show that Raya Shokatford
flew into the United States on September 3, 2010 to Portland, Oregon. During the defense’s
presentation at trial, both I and my co-case agent identified Raya Shokatford as being present
in the back of the courtroom observing a portion of the trial. Although Ms. Shokatford was
both present and available to testify on behalf of the defendant, she was not called by the
defense.




      I declare under penalty of perjury that the foregoing is true and correct.
      Executed on October 25, 2010.




                                                 Colleen Anderson
                                                 Special Agent, IRS-CI




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